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BP Crawford County
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Crawford County Library Board Meeting Minutes
Tuesday, November 8, 2022 at 4:30 p.m.
Van Buren Public Library

Call to Order Jami Anne Balkman called the meeting to order at 4:33 pm
In Attendance Board Members present were Jami Anne Balkman, Joan
Porter and Keith Pigg. Library Director Deidre Fears, Secretary Carolyn
Shelby. Branch Directors present were Reeca Mayer, Michele Belk and Julia
Watkins. Attorney, Gentry Wahlmeier. Others Present were Terry Carson and
Eva White as well as Ashley Beyerle, Tammy Wilson, Margaret Phelps, Debi
Adkins, Benny Adkins, Carey Wilson, Madison Swaim, Monica Steele, Anna
Lyon, DeAnna Hobbs and Jared Richmond.
Approval of Previous Minutes Porter made a motion to approve the minutes
from September 13, 2022 and October 11, 2022. Pigg seconded the motion
and all approved by a show of the right hand. Motion carried.
Change of Order was made by Balkman to insure there would be 3 Board
Members present all evening due to Porter leaving at 5:30 p.m.
Special Election Decision was made. Pigg stated that the Friends of the
Library would help with the financing. Since the Genealogy Building had sold
this would help. There is a scheduled Fundraising Banquet for February 10",
2023. Pigg made a motion to move forward with a 1.00% millage increase,
Porter seconded the motion, it passed with a show of the right hand. Gentry
to prepare documents. County cannot block.
2023 Budget Changes were presented by Fears. Changes due to increase
in Health Insurance for next year. Workman’ Compensation is down and due
to online services provided the book and audio budget was decreased to
compensate for increase. Pigg made a motion to approve the changes and
Porter seconded the motion, all approved with a show of the right hand.
New Business
Book Challenges

i. “If You’re a Drag Queen and You Know It.” Challenged by Debra Adkins

ii. “Pink, Blue and You” Challenged by Debra Adkins

ili. “The Meaning of Pride” Challenged by Debra Adkins

iv. “The Big Book of Pride Flags” Challenged by Benny Adkins
v. “Uncle Bobby’s Wedding” Challenged by Margaret Phelps

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vi. “Bye Bye, Binary” Challenged by Tammy Wilson

After much discussion and challenges, Gentry stated that the library is in line
with the First Amendment and vote was passed on each book as follows:

i. Porter made a motion to approve keeping the book on the shelf, Pigg seconded
the motion and it was approved by raised right hand.

ii. Pigg made a motion to approve keeping the book on the shelf, Porter seconded

the motion and it was approved by raised right hand.

iii. Porter made a motion to approve keeping the book on the shelf and Pigg

seconded the motion. Motion was approved with a show of right hands.

iv. Pigg made a motion to approve keeping the book on the shelf, Porter seconded

the motion. Motion was approved with a show of right hands.

v. Porter made a motion to approve keeping the book on the shelf, Pigg seconded

the motion and it was approved by raised right hand.

vi. Pigg made a motion to approve keeping the book on the shelf, Porter seconded

and it was approved by raised right hand.

Vil New Business
Policy Adjustments
i. Policy E1C1 & E1C2 — Sick Leave After 3 days employee will need a doctor's
note to return to work. Porter made a motion to approve the changes, Pigg
seconded the motion and all approved with a show of the right hand.
j. Animals in the Library JCB — Service animals and invited for library programs.
Porter made a motion to approve the changes and Pigg seconded the motion.
All approved with a show of the right hand.

VII Director’ Highlights
Each Branch Director went over the highlights and upcoming events for their
library, Reeca Mayer, Michelle Belk, Julia Watkins and Deidre read the Mulberry and
Van Buren highlights. The Board thanked them for their efforts.

Joan Porter had left at 5:30 so Keith Pigg made a motion to adjourn the meeting
around 6:05 p.m.

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